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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION


 SANDRA HUNTER, Individually and On         Case No. 1:20-cv-1460
 Behalf of All Others Similarly Situated,

                             Plaintiff,     CLASS ACTION COMPLAINT FOR
                                            VIOLATIONS OF THE FEDERAL
               v.                           SECURITIES LAWS

 ELANCO ANIMAL HEALTH
 INCORPORATED, JEFFREY N.                   JURY TRIAL DEMANDED
 SIMMONS, and TODD S. YOUNG,

                             Defendants.
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       Plaintiff Sandra Hunter (“Plaintiff”), individually and on behalf of all others similarly

situated, by and through her attorneys, alleges the following upon information and belief, except

as to those allegations concerning Plaintiff, which are alleged upon personal knowledge.

Plaintiff’s information and belief is based upon, among other things, her counsel’s investigation,

which includes without limitation: (a) review and analysis of regulatory filings made by Elanco

Animal Health Incorporated (“Elanco” or the “Company”) with the United States (“U.S.”)

Securities and Exchange Commission (“SEC”); (b) review and analysis of press releases and

media reports issued by and disseminated by Elanco; and (c) review of other publicly available

information concerning Elanco.
                       NATURE OF THE ACTION AND OVERVIEW

       1.      This is a class action on behalf of persons and entities that purchased or otherwise

acquired Elanco securities between January 10, 2020 and May 6, 2020, inclusive (the “Class

Period”). Plaintiff pursues claims against the Defendants under the Securities Exchange Act of

1934 (the “Exchange Act”).

       2.      Elanco is an animal health company that develops, manufactures, and markets

products for companion and food animals. Its four primary categories are: Companion Animal

Disease Prevention (“CA Disease Prevention”), which offers parasiticides that protect pets from

worms, fleas and ticks; Companion Animal Therapeutics (“CA Therapeutics”), which offers

treatments for pain, osteoarthritis, otitis, as well as cardiovascular and dermatology indications;

Food Animal Future Protein & Health (“FA Future Protein & Health”), which includes vaccines,

nutritional enzymes, and antibiotics; and Food Animal Ruminants & Swine (“FA Ruminants &

Swine”), which develops food animal products used extensively in ruminant and swine

production.

       3.      On May 7, 2020, before the market opened, Elanco announced its first quarter

2020 financial results, reporting revenue of $657.7 million and earnings per share of -$0.12,

reflecting “a reduction of approximately $60 million in channel inventory.” The Company’s

Chief Executive Officer attributed the disappointing results to “distributor performance,” among

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other things, and stated that Elanco planned “to tighten [its] approach across many facets of [its]

distributor relationships.”

       4.      On this news, the Company’s share price fell $3.05, or over 13%, to close at

$19.88 per share on May 7, 2020, on unusually heavy trading volume.

       5.      Throughout the Class Period, Defendants made materially false and/or misleading

statements, as well as failed to disclose material adverse facts about the Company’s business,

operations, and prospects. Specifically, Defendants failed to disclose to investors: (1) that, after

consolidating its distributors from eight to four, the Company increased the amount of inventory,

including companion animal products, held by each distributor; (2) that Elanco’s distributors

were not experiencing sufficient demand to sell through the inventory; (3) that, as a result, the

Company’s revenue was reasonably likely to decline; (4) that, as a result of the foregoing,

Elanco would reduce its channel inventory with respect to companion animal products; and (5)

that, as a result of the foregoing, Defendants’ positive statements about the Company’s business,

operations, and prospects, were materially misleading and/or lacked a reasonable basis.

       6.      As a result of Defendants’ wrongful acts and omissions, and the precipitous

decline in the market value of the Company’s securities, Plaintiff and other Class members have

suffered significant losses and damages.
                                JURISDICTION AND VENUE

       7.      The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17

C.F.R. § 240.10b-5).

       8.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).

       9.      Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b) and

Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts in furtherance of the

alleged fraud or the effects of the fraud have occurred in this Judicial District. Many of the acts

charged herein, including the dissemination of materially false and/or misleading information,

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occurred in substantial part in this Judicial District. In addition, the Company’s principal

executive offices are located in this District.

       10.     In connection with the acts, transactions, and conduct alleged herein, Defendants

directly and indirectly used the means and instrumentalities of interstate commerce, including the

United States mail, interstate telephone communications, and the facilities of a national securities

exchange.

                                              PARTIES

       11.     Plaintiff Sandra Hunter, as set forth in the accompanying certification,

incorporated by reference herein, purchased Elanco securities during the Class Period, and

suffered damages as a result of the federal securities law violations and false and/or misleading

statements and/or material omissions alleged herein.

       12.     Defendant Elanco is incorporated under the laws of Indiana with its principal

executive offices located in Greenfield, Indiana. Elanco’s common stock trades on the New York

Stock Exchange (“NYSE”) under the symbol “ELAN.”

       13.     Defendant Jeffrey N. Simmons (“Simmons”) was the Company’s Chief Executive

Officer (“CEO”) at all relevant times.

       14.     Defendant Todd S. Young (“Young”) was the Company’s Chief Financial Officer

(“CFO”) at all relevant times.

       15.     Defendants Simmons and Young (collectively the “Individual Defendants”),

because of their positions with the Company, possessed the power and authority to control the

contents of the Company’s reports to the SEC, press releases and presentations to securities

analysts, money and portfolio managers and institutional investors, i.e., the market.           The

Individual Defendants were provided with copies of the Company’s reports and press releases

alleged herein to be misleading prior to, or shortly after, their issuance and had the ability and

opportunity to prevent their issuance or cause them to be corrected. Because of their positions

and access to material non-public information available to them, the Individual Defendants knew

that the adverse facts specified herein had not been disclosed to, and were being concealed from,

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the public, and that the positive representations which were being made were then materially

false and/or misleading. The Individual Defendants are liable for the false statements pleaded

herein.

                                   SUBSTANTIVE ALLEGATIONS

                                              Background

          16.       Elanco is an animal health company that develops, manufactures, and markets

products for companion and food animals. Its four primary categories are: Companion Animal

Disease Prevention (“CA Disease Prevention”), which offers parasiticides that protect pets from

worms, fleas and ticks; Companion Animal Therapeutics (“CA Therapeutics”), which offers

treatments for pain, osteoarthritis, otitis, as well as cardiovascular and dermatology indications;

Food Animal Future Protein & Health (“FA Future Protein & Health”), which includes vaccines,

nutritional enzymes, and antibiotics; and Food Animal Ruminants & Swine (“FA Ruminants &

Swine”), which develops food animal products used extensively in ruminant and swine

production.

                                   Materially False and Misleading
                              Statements Issued During the Class Period

          17.       The Class Period begins on January 10, 2020. On that day, Elanco announced its

2020 financial guidance in a press release that stated, in relevant part:

                •   2020 revenue is expected to be between $3.05 billion and $3.11 billion.
                •   Earnings per share (EPS) for 2020 are expected to be in the range of $0.04
                    to $0.16 on a reported basis and $1.09 to $1.16 on an adjusted basis.
                •   China regulatory clearance received for acquisition of Bayer AG’s animal
                    health business. Additional antitrust discussions progressing as expected.

          GREENFIELD, Ind.--(BUSINESS WIRE)-- Elanco Animal Health Incorporated
          (NYSE: ELAN) today announced its initial financial guidance for 2020, including
          total revenue expectations in the range of $3.05 billion to $3.11 billion, and Core
          Revenue, which excludes strategic exits, in the range of $3.00 billion to $3.06
          billion. Elanco also expects earnings per share (EPS) for 2020 to be in the range
          of $0.04 to $0.16 on a reported basis and $1.09 to $1.16 on an adjusted basis.
          These revenue and EPS expectations are for stand-alone Elanco only, including
          full year revenues for products that may be divested, and do not include any
          expected revenues from the Bayer animal health business or impact of

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         transactions related to the acquisition, such as potential issuance of additional
         shares.

         18.       On February 19, 2020, Elanco announced its fourth quarter and full year 2019

financial results in a press release that stated, in relevant part:

               •   Fourth quarter 2019 earnings per share (EPS) was $(0.03) (reported), or
                   $0.23 (adjusted). Full year 2019 EPS was $0.18 (reported), or $1.06
                   (adjusted).
               •   Fourth quarter 2019 gross margin was 47.9 percent of revenue (reported
                   and adjusted). Full year 2019 gross margin was 52.1 percent of revenue
                   (reported and adjusted), an improvement of 340 basis points on a reported
                   basis and 220 basis points on an adjusted basis.
               •   Fourth quarter 2019 Total Revenue was $787.0 million, a decline of 2
                   percent, while Core Revenue was flat; on a constant currency basis, Total
                   Revenue declined 1 percent and Core Revenue grew 1 percent. Full year
                   2019 Total Revenue was $3.1 billion, flat compared to 2018, while Core
                   Revenue grew 1 percent; on a constant currency basis, Total Revenue
                   grew 2 percent and Core Revenue 3 percent.

                                                  ***

               •   Confirmed financial guidance for the full year 2020, with total revenue in
                   the range of $3.05 billion - $3.11 billion, Core Revenue in the range of
                   $3.00 billion - $3.06 billion, and EPS in the range of $0.04 - $0.16
                   (reported), or $1.09 to $1.16 (adjusted). Guidance does not contemplate
                   contributions from Bayer animal health or additional financing elements.

         19.       On February 28, 2020, Elanco filed its annual report on Form 10-K for the period

ended December 31, 2019, affirming the previously reported financial results. Therein, the

Company stated, regarding channel inventory for companion animal products 1:

         For our companion animal products, increased use of alternative distribution
         channels, or changes within existing distribution channels, could negatively
         impact our market share, margins and distribution of our products.

         In most markets, pet owners typically purchase their animal health products
         directly from veterinarians. However, pet owners increasingly have the option to
         purchase animal health products from sources other than veterinarians, such as
         online retailers, “big-box” retail stores or other over-the-counter distribution
         channels. This trend has been demonstrated by the significant shift away from the
         veterinarian distribution channel in the sale of flea and tick products in recent


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    Unless otherwise stated, any emphasis herein is added.

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       years. Pet owners also could decrease their reliance on, and visits to, veterinarians
       as they rely more on internet-based animal health information. Because we market
       our companion animal prescription products primarily through the veterinarian
       distribution channel, any decrease in visits to veterinarians by pet owners could
       reduce our market share for such products and materially adversely affect our
       business, financial condition and results of operations. In addition, pet owners
       may substitute human health products for animal health products if human health
       products are deemed to be lower-cost alternatives.

       Legislation has also been proposed in the U.S., and may be proposed in the U.S.
       or abroad in the future, that could impact the distribution channels for our
       companion animal products. . . .

       Over time, these and other competitive conditions may increase our use of online
       retailers, “big-box” retail stores or other over-the-counter distribution channels to
       sell our companion animal products. We may not be adequately prepared or able
       to distribute our companion animal products if an increased portion of our sales
       occur through these channels. Also, we may realize lower margins on sales
       through these distribution channels than we do on sales through veterinarians.
       Any of these events could materially adversely affect our business, financial
       condition and results of operations.

       In addition, if one or more of our companion animal distributors discontinues or
       modifies their relationship with us, our business, financial condition and results of
       operations may be materially adversely affected. For example, in 2017, a change
       in our U.S. inventory management practices resulted in a revenue lag as existing
       inventory was sold down, which management estimates decreased our revenue by
       approximately $35 million.

       20.    On March 24, 2020, the Company issued a press release entitled “Elanco Provides

Business Update Related to COVID-19,” stating in relevant part:

       Simmons continued, “I remain confident in Elanco’s long-term strategy and our
       ability to deliver on the commitments to our stakeholders. The underlying
       industry fundamentals remain strong and the diversity of the global Elanco
       business across farm animals and pets provides durability and balance. We are
       resolute in our acquisition of Bayer AG’s animal health business as it adds to our
       leadership position in animal health for the long-term.”

       As the situation around the COVID-19 pandemic is rapidly evolving, Elanco is
       withdrawing its previously announced 2020 revenue and earnings per share
       guidance. Elanco is monitoring several global dynamics, from changing foreign
       currency rates and a dynamic animal protein market to declining veterinary clinic
       visits, the growing use of direct-to-consumer shipping, and sales through
       ecommerce and other alternative channels. The company is confident in its
       working capital and liquidity levels, while continuing to actively monitor the

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       changing environment across the world. Elanco will provide an update on its Q1
       earnings call in early May, based on information available at that time.

       The Elanco team remains focused and in execution mode, even as much of the
       employee base moves to remote working. The manufacturing plants and R&D
       labs are operational, and the company is closely monitoring distribution
       logistics. At this time, Elanco has not experienced any supply disruption and
       critical projects in the pipeline continue to advance. The U.S. Department of
       Homeland Security and most other countries globally have deemed manufacturing
       and distribution of animal medicines as essential critical infrastructure and
       workforce. However, in an effort to support public health and slow the spread of
       the disease, Elanco moved its non-business critical work force to remote working
       globally, with the exception of China, which has begun to return to work. Elanco
       also removed sales representatives from the field in many countries, including the
       U.S. along with its companion animal distribution partners. However, the Elanco
       team continues to collaborate with customers via webinars, teleconference and
       video conferences and other remote options.

       21.     The above statements identified in ¶¶ 17-20 were materially false and/or

misleading, and failed to disclose material adverse facts about the Company’s business,

operations, and prospects. Specifically, Defendants failed to disclose to investors: (1) that, after

consolidating its distributors from eight to four, the Company increased the amount of inventory,

including companion animal products, held by each distributor; (2) that Elanco’s distributors

were not experiencing sufficient demand to sell through the inventory; (3) that, as a result, the

Company’s revenue was reasonably likely to decline; (4) that, as a result of the foregoing,

Elanco would reduce its channel inventory with respect to companion animal products; and (5)

that, as a result of the foregoing, Defendants’ positive statements about the Company’s business,

operations, and prospects, were materially misleading and/or lacked a reasonable basis.
                           Disclosures at the End of the Class Period

       22.     On May 7, 2020, Elanco announced its first quarter 2020 financial results in a

press release, reporting revenue of $657.7 million and earnings per share of -$0.12. According to

the Company, revenue declined “9 percent due to a reduction of approximately $60 million in

channel inventory driven by factors resulting from the COVID-19 pandemic.” Defendant

Simmons attributed the disappointing results to “distributor performance,” among other things,

and stated that Elanco planned “to tighten [its] approach across many facets of [its] distributor

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relationships.” Specifically, the press release stated, in relevant part:

              •   Total Revenue was $657.7 million, a decrease of 10 percent. On a constant
                  currency basis, Total Revenue declined 9 percent due to a reduction of
                  approximately $60 million in channel inventory driven by factors resulting
                  from the COVID-19 pandemic.
              •   Gross margin was 49.4 percent of revenue (reported), or 50.1 percent of
                  revenue (adjusted).
              •   Earnings per share (EPS) was $(0.12) (reported), or $0.13 (adjusted).
              •   Bayer Animal Health acquisition remains on track for mid-year close;
                  Antitrust approval process progressing; new members of expanded
                  executive leadership team announced.
              •   Long-term industry fundamentals remain intact; 2020 guidance withdrawn
                  due to uncertainty of the duration and magnitude of impacts from the
                  COVID-19 pandemic.

                                                 ***

        "In the first quarter, the COVID-19 pandemic created working capital pressures
        across our commercial value chain and dampened assumptions about near-term
        demand from end users of our products. These factors coupled with our recent
        evaluation of distributor performance has prompted us to tighten our approach
        across many facets of our distributor relationships. Our relationship with our
        commercial partners has evolved significantly over the last 13 years and while
        distribution will continue to play a role in the future, our analysis shows our
        internal demand generation efforts are superior to distributors and higher
        inventory levels are not driving demand as it had in the past," said Jeff Simmons,
        president and chief executive officer at Elanco. "In the first quarter, we made
        initial progress to meaningfully reduce channel inventory, primarily in our U.S.
        companion animal business, and we expect to further tighten channel inventory
        across all business areas, primarily in the second quarter. The decrease in
        channel inventory is a structural change that will improve our working capital
        and maximize our operational flexibility in the current environment and
        beyond. While the actions we are taking with our commercial partners negatively
        impact our reported sales performance in the near term, these changes will
        strengthen our position, optimize our promotional approach and enable us to
        direct investment to the internal commercial activities that drive demand for our
        products over the long term."

        23.       The same day, the Company held a conference call to discuss the financial results

with analysts and investors. During the call, defendant Simmons noted that the Company

expected additional inventory reductions and explained:

        Recall at the start of 2020, we consolidated our U.S. Companion Animal
        distributors from eight to 4, and we instituted specific targets for them to generate

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        end-customer demand. I also personally established a monthly review meeting
        with each of them. . . . As the Elanco demand creation was increasing, we were
        seeing less impact directly by distributors in today's environment. Furthermore,
        the volume of product being held by distributors was not impacting their ability to
        create demand. This is an insight and a change from our historical experience.
        The COVID pandemic also impacted the inventory shift from our distributor
        consolidation. We expected the four remaining distributors would need to
        increase their inventory levels to handle the larger volume going through their
        operations, offsetting the inventory drawdown in the eliminated distributors.
        With the liquidity and working capital pressure from COVID, the distributors are
        managing their inventory more tightly. Consequently, in Q1, we reduced the
        amount of product and distributor inventory by approximately $60 million,
        mainly in the U.S. companion animal space. And we expect to further reduce an
        additional $80 million to $100 million, mainly in the second quarter, as we apply
        these new tactics across our business and geographies.

        24.     On this news, the Company’s share price fell $3.05, or over 13%, to close at

 $19.88 per share on May 7, 2020, on unusually heavy trading volume.
                               CLASS ACTION ALLEGATIONS

        25.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

 Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and entities that

 purchased or otherwise acquired Elanco securities between January 10, 2020 and May 6, 2020,

 inclusive, and who were damaged thereby (the “Class”).             Excluded from the Class are

 Defendants, the officers and directors of the Company, at all relevant times, members of their

 immediate families and their legal representatives, heirs, successors, or assigns, and any entity in

 which Defendants have or had a controlling interest.

        26.     The members of the Class are so numerous that joinder of all members is

 impracticable. Throughout the Class Period, Elanco’s common shares actively traded on the

 NYSE. While the exact number of Class members is unknown to Plaintiff at this time and can

 only be ascertained through appropriate discovery, Plaintiff believes that there are at least

 hundreds or thousands of members in the proposed Class. Millions of Elanco common stock

 were traded publicly during the Class Period on the NYSE. Record owners and other members

 of the Class may be identified from records maintained by Elanco or its transfer agent and may

 be notified of the pendency of this action by mail, using the form of notice similar to that

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 customarily used in securities class actions.

         27.       Plaintiff’s claims are typical of the claims of the members of the Class as all

 members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

 federal law that is complained of herein.

         28.       Plaintiff will fairly and adequately protect the interests of the members of the

 Class and has retained counsel competent and experienced in class and securities litigation.

         29.       Common questions of law and fact exist as to all members of the Class and

 predominate over any questions solely affecting individual members of the Class. Among the

 questions of law and fact common to the Class are:

                   (a)    whether the federal securities laws were violated by Defendants’ acts as

 alleged herein;

                   (b)    whether statements made by Defendants to the investing public during the

 Class Period omitted and/or misrepresented material facts about the business, operations, and

 prospects of Elanco; and

                   (c)    to what extent the members of the Class have sustained damages and the

 proper measure of damages.

         30.       A class action is superior to all other available methods for the fair and efficient

 adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

 the damages suffered by individual Class members may be relatively small, the expense and

 burden of individual litigation makes it impossible for members of the Class to individually

 redress the wrongs done to them. There will be no difficulty in the management of this action as

 a class action.
                                 UNDISCLOSED ADVERSE FACTS

         31.       The market for Elanco’s securities was open, well-developed and efficient at all

 relevant times. As a result of these materially false and/or misleading statements, and/or failures

 to disclose, Elanco’s securities traded at artificially inflated prices during the Class Period.

 Plaintiff and other members of the Class purchased or otherwise acquired Elanco’s securities

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 relying upon the integrity of the market price of the Company’s securities and market

 information relating to Elanco, and have been damaged thereby.

          32.   During the Class Period, Defendants materially misled the investing public,

 thereby inflating the price of Elanco’s securities, by publicly issuing false and/or misleading

 statements and/or omitting to disclose material facts necessary to make Defendants’ statements,

 as set forth herein, not false and/or misleading. The statements and omissions were materially

 false and/or misleading because they failed to disclose material adverse information and/or

 misrepresented the truth about Elanco’s business, operations, and prospects as alleged herein.

          33.   At all relevant times, the material misrepresentations and omissions particularized

 in this Complaint directly or proximately caused or were a substantial contributing cause of the

 damages sustained by Plaintiff and other members of the Class. As described herein, during the

 Class Period, Defendants made or caused to be made a series of materially false and/or

 misleading statements about Elanco’s financial well-being and prospects.          These material

 misstatements and/or omissions had the cause and effect of creating in the market an

 unrealistically positive assessment of the Company and its financial well-being and prospects,

 thus causing the Company’s securities to be overvalued and artificially inflated at all relevant

 times.    Defendants’ materially false and/or misleading statements during the Class Period

 resulted in Plaintiff and other members of the Class purchasing the Company’s securities at

 artificially inflated prices, thus causing the damages complained of herein when the truth was

 revealed.
                                       LOSS CAUSATION

          34.   Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

 the economic loss suffered by Plaintiff and the Class.

          35.   During the Class Period, Plaintiff and the Class purchased Elanco’s securities at

 artificially inflated prices and were damaged thereby. The price of the Company’s securities

 significantly declined when the misrepresentations made to the market, and/or the information

 alleged herein to have been concealed from the market, and/or the effects thereof, were revealed,

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 causing investors’ losses.

                                   SCIENTER ALLEGATIONS

        36.     As alleged herein, Defendants acted with scienter since Defendants knew that the

 public documents and statements issued or disseminated in the name of the Company were

 materially false and/or misleading; knew that such statements or documents would be issued or

 disseminated to the investing public; and knowingly and substantially participated or acquiesced

 in the issuance or dissemination of such statements or documents as primary violations of the

 federal securities laws. As set forth elsewhere herein in detail, the Individual Defendants, by

 virtue of their receipt of information reflecting the true facts regarding Elanco, their control over,

 and/or receipt and/or modification of Elanco’s allegedly materially misleading misstatements

 and/or their associations with the Company which made them privy to confidential proprietary

 information concerning Elanco, participated in the fraudulent scheme alleged herein.

                    APPLICABILITY OF PRESUMPTION OF RELIANCE
                        (FRAUD-ON-THE-MARKET DOCTRINE)

        37.     The market for Elanco’s securities was open, well-developed and efficient at all

 relevant times. As a result of the materially false and/or misleading statements and/or failures to

 disclose, Elanco’s securities traded at artificially inflated prices during the Class Period. On

 January 23, 2020, the Company’s share price closed at a Class Period high of $32.25 per share.

 Plaintiff and other members of the Class purchased or otherwise acquired the Company’s
 securities relying upon the integrity of the market price of Elanco’s securities and market

 information relating to Elanco, and have been damaged thereby.

        38.     During the Class Period, the artificial inflation of Elanco’s shares was caused by

 the material misrepresentations and/or omissions particularized in this Complaint causing the

 damages sustained by Plaintiff and other members of the Class. As described herein, during the

 Class Period, Defendants made or caused to be made a series of materially false and/or

 misleading statements about Elanco’s business, prospects, and operations.            These material

 misstatements and/or omissions created an unrealistically positive assessment of Elanco and its


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 business, operations, and prospects, thus causing the price of the Company’s securities to be

 artificially inflated at all relevant times, and when disclosed, negatively affected the value of the

 Company shares. Defendants’ materially false and/or misleading statements during the Class

 Period resulted in Plaintiff and other members of the Class purchasing the Company’s securities

 at such artificially inflated prices, and each of them has been damaged as a result.

          39.   At all relevant times, the market for Elanco’s securities was an efficient market

 for the following reasons, among others:

                (a)     Elanco shares met the requirements for listing, and was listed and actively

 traded on the NYSE, a highly efficient and automated market;

                (b)     As a regulated issuer, Elanco filed periodic public reports with the SEC

 and/or the NYSE;

                (c)     Elanco regularly communicated with public investors via established

 market communication mechanisms, including through regular dissemination of press releases

 on the national circuits of major newswire services and through other wide-ranging public

 disclosures, such as communications with the financial press and other similar reporting services;

 and/or

                (d)     Elanco was followed by securities analysts employed by brokerage firms

 who wrote reports about the Company, and these reports were distributed to the sales force and

 certain customers of their respective brokerage firms.         Each of these reports was publicly

 available and entered the public marketplace.

          40.   As a result of the foregoing, the market for Elanco’s securities promptly digested

 current information regarding Elanco from all publicly available sources and reflected such

 information in Elanco’s share price. Under these circumstances, all purchasers of Elanco’s

 securities during the Class Period suffered similar injury through their purchase of Elanco’s

 securities at artificially inflated prices and a presumption of reliance applies.


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        41.     A Class-wide presumption of reliance is also appropriate in this action under the

 Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128

 (1972), because the Class’s claims are, in large part, grounded on Defendants’ material

 misstatements and/or omissions. Because this action involves Defendants’ failure to disclose

 material adverse information regarding the Company’s business operations and financial

 prospects—information that Defendants were obligated to disclose—positive proof of reliance is

 not a prerequisite to recovery. All that is necessary is that the facts withheld be material in the

 sense that a reasonable investor might have considered them important in making investment

 decisions. Given the importance of the Class Period material misstatements and omissions set

 forth above, that requirement is satisfied here.
                                        NO SAFE HARBOR

        42.     The statutory safe harbor provided for forward-looking statements under certain

 circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

 The statements alleged to be false and misleading herein all relate to then-existing facts and

 conditions. In addition, to the extent certain of the statements alleged to be false may be

 characterized as forward looking, they were not identified as “forward-looking statements” when

 made and there were no meaningful cautionary statements identifying important factors that

 could cause actual results to differ materially from those in the purportedly forward-looking

 statements. In the alternative, to the extent that the statutory safe harbor is determined to apply to

 any forward-looking statements pleaded herein, Defendants are liable for those false forward-

 looking statements because at the time each of those forward-looking statements was made, the

 speaker had actual knowledge that the forward-looking statement was materially false or

 misleading, and/or the forward-looking statement was authorized or approved by an executive

 officer of Elanco who knew that the statement was false when made.




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                                              FIRST CLAIM
                           Violation of Section 10(b) of The Exchange Act and
                                  Rule 10b-5 Promulgated Thereunder
                                         Against All Defendants

         43.     Plaintiff repeats and re-alleges each and every allegation contained above as if

 fully set forth herein.

         44.     During the Class Period, Defendants carried out a plan, scheme and course of

 conduct which was intended to and, throughout the Class Period, did: (i) deceive the investing

 public, including Plaintiff and other Class members, as alleged herein; and (ii) cause Plaintiff and

 other members of the Class to purchase Elanco’s securities at artificially inflated prices. In
 furtherance of this unlawful scheme, plan and course of conduct, Defendants, and each

 defendant, took the actions set forth herein.
         45.     Defendants (i) employed devices, schemes, and artifices to defraud; (ii) made

 untrue statements of material fact and/or omitted to state material facts necessary to make the

 statements not misleading; and (iii) engaged in acts, practices, and a course of business which

 operated as a fraud and deceit upon the purchasers of the Company’s securities in an effort to

 maintain artificially high market prices for Elanco’s securities in violation of Section 10(b) of the

 Exchange Act and Rule 10b-5. All Defendants are sued either as primary participants in the

 wrongful and illegal conduct charged herein or as controlling persons as alleged below.

         46.     Defendants, individually and in concert, directly and indirectly, by the use, means

 or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

 continuous course of conduct to conceal adverse material information about Elanco’s financial

 well-being and prospects, as specified herein.

         47.     Defendants employed devices, schemes and artifices to defraud, while in

 possession of material adverse non-public information and engaged in acts, practices, and a

 course of conduct as alleged herein in an effort to assure investors of Elanco’s value and

 performance and continued substantial growth, which included the making of, or the

 participation in the making of, untrue statements of material facts and/or omitting to state


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 material facts necessary in order to make the statements made about Elanco and its business

 operations and future prospects in light of the circumstances under which they were made, not

 misleading, as set forth more particularly herein, and engaged in transactions, practices and a

 course of business which operated as a fraud and deceit upon the purchasers of the Company’s

 securities during the Class Period.

        48.     Each of the Individual Defendants’ primary liability and controlling person

 liability arises from the following facts: (i) the Individual Defendants were high-level executives

 and/or directors at the Company during the Class Period and members of the Company’s

 management team or had control thereof; (ii) each of these defendants, by virtue of their

 responsibilities and activities as a senior officer and/or director of the Company, was privy to and

 participated in the creation, development and reporting of the Company’s internal budgets, plans,

 projections and/or reports; (iii) each of these defendants enjoyed significant personal contact and

 familiarity with the other defendants and was advised of, and had access to, other members of the

 Company’s management team, internal reports and other data and information about the

 Company’s finances, operations, and sales at all relevant times; and (iv) each of these defendants

 was aware of the Company’s dissemination of information to the investing public which they

 knew and/or recklessly disregarded was materially false and misleading.

        49.     Defendants had actual knowledge of the misrepresentations and/or omissions of

 material facts set forth herein, or acted with reckless disregard for the truth in that they failed to

 ascertain and to disclose such facts, even though such facts were available to them. Such

 defendants’ material misrepresentations and/or omissions were done knowingly or recklessly and

 for the purpose and effect of concealing Elanco’s financial well-being and prospects from the

 investing public and supporting the artificially inflated price of its securities. As demonstrated by

 Defendants’ overstatements and/or misstatements of the Company’s business, operations,

 financial well-being, and prospects throughout the Class Period, Defendants, if they did not have

 actual knowledge of the misrepresentations and/or omissions alleged, were reckless in failing to

 obtain such knowledge by deliberately refraining from taking those steps necessary to discover

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 whether those statements were false or misleading.

         50.     As a result of the dissemination of the materially false and/or misleading

 information and/or failure to disclose material facts, as set forth above, the market price of

 Elanco’s securities was artificially inflated during the Class Period. In ignorance of the fact that

 market prices of the Company’s securities were artificially inflated, and relying directly or

 indirectly on the false and misleading statements made by Defendants, or upon the integrity of

 the market in which the securities trades, and/or in the absence of material adverse information

 that was known to or recklessly disregarded by Defendants, but not disclosed in public

 statements by Defendants during the Class Period, Plaintiff and the other members of the Class

 acquired Elanco’s securities during the Class Period at artificially high prices and were damaged

 thereby.

         51.     At the time of said misrepresentations and/or omissions, Plaintiff and other

 members of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff

 and the other members of the Class and the marketplace known the truth regarding the problems

 that Elanco was experiencing, which were not disclosed by Defendants, Plaintiff and other

 members of the Class would not have purchased or otherwise acquired their Elanco securities, or,

 if they had acquired such securities during the Class Period, they would not have done so at the

 artificially inflated prices which they paid.

         52.     By virtue of the foregoing, Defendants violated Section 10(b) of the Exchange

 Act and Rule 10b-5 promulgated thereunder.

         53.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and

 the other members of the Class suffered damages in connection with their respective purchases

 and sales of the Company’s securities during the Class Period.
                                          SECOND CLAIM
                           Violation of Section 20(a) of The Exchange Act
                                 Against the Individual Defendants

         54.     Plaintiff repeats and re-alleges each and every allegation contained above as if

 fully set forth herein.

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         55.    Individual Defendants acted as controlling persons of Elanco within the meaning

 of Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level positions

 and their ownership and contractual rights, participation in, and/or awareness of the Company’s

 operations and intimate knowledge of the false financial statements filed by the Company with

 the SEC and disseminated to the investing public, Individual Defendants had the power to

 influence and control and did influence and control, directly or indirectly, the decision-making of

 the Company, including the content and dissemination of the various statements which Plaintiff

 contends are false and misleading. Individual Defendants were provided with or had unlimited

 access to copies of the Company’s reports, press releases, public filings, and other statements

 alleged by Plaintiff to be misleading prior to and/or shortly after these statements were issued

 and had the ability to prevent the issuance of the statements or cause the statements to be

 corrected.

         56.    In particular, Individual Defendants had direct and supervisory involvement in the

 day-to-day operations of the Company and, therefore, had the power to control or influence the

 particular transactions giving rise to the securities violations as alleged herein, and exercised the

 same.

         57.    As set forth above, Elanco and Individual Defendants each violated Section 10(b)

 and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue of their

 position as controlling persons, Individual Defendants are liable pursuant to Section 20(a) of the

 Exchange Act. As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and

 other members of the Class suffered damages in connection with their purchases of the

 Company’s securities during the Class Period.
                                     PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

         (a)    Determining that this action is a proper class action under Rule 23 of the Federal

 Rules of Civil Procedure;

         (b)    Awarding compensatory damages in favor of Plaintiff and the other Class

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 members against all defendants, jointly and severally, for all damages sustained as a result of

 Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

        (c)     Awarding Plaintiff and the Class their reasonable costs and expenses incurred in

 this action, including counsel fees and expert fees; and

        (d)     Such other and further relief as the Court may deem just and proper.

                                   JURY TRIAL DEMANDED

        Plaintiff hereby demands a trial by jury.


 Dated: May 20, 2020                           By: Offer Korin
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